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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


MONIQUE BASSALINDA LEDET               §
                                       §
vs.                                    §
                                       § Civil Action No. 4:15-cv-3428
                                       §        (JURY)
LIBERTY MUTUAL INSURANCE               §
COMPANY, LIBERTY MUTUAL FIRE           §
INSURANCE COMPANY                      §
_____________________________________________________________________________

                     DEFENDANTS’ NOTICE OF REMOVAL
______________________________________________________________________________

       Defendants, Liberty Mutual Insurance Company (improperly joined) and Liberty Mutual

Fire Insurance Company (referred to collectively as “Defendants” or “Liberty”), timely file this

Notice of Removal pursuant to 28 U.S.C. § 1441(a), 28 U.S.C. § 1332(a), and 28 U.S.C.

§1446(b), removing this action from the 149th Judicial District Court, Brazoria County, Texas to

the United States District Court for the Southern District of Texas, Houston Division and in

support thereof show as follows:

                                      A.      Introduction

        1.     Plaintiffs commenced this lawsuit against Defendants Liberty Mutual Insurance

 Company (improperly joined) and Liberty Mutual Fire Insurance Company in the 149th Judicial

 District Court, Brazoria County, Texas on or about November 18, 2015. Liberty was served

 with this lawsuit on November 12, 2015.         A copy of the Original Petition and Service

 Documents are attached as Exhibit “A”.

       2.      Defendants are filing this Notice of Removal within 30 days of its first receipt of

 Plaintiff’s Original Petition as required by 28 U.S.C. § 1446(b).
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       3.      Plaintiff seeks to recover damages in this lawsuit based on allegations of breach

 of contract, breach of the duty of good faith and fair dealing and violations of the Texas

 Insurance Code violations resulting from the alleged conduct of Defendants. Plaintiff’s claims

 against Defendants arise under a homeowner’s policy of insurance issued by Defendant Liberty

 Mutual Fire Insurance Company on Plaintiff’s residential property located in Brazoria County,

 Texas. Plaintiff claims the property was damaged when a hail and/or wind storm struck the

 roof. Plaintiff further alleges she has incurred monetary losses as a result of the property

 damage allegedly caused by hail and/or wind storm. Defendants did find minor wind damage to

 the property and made a payment for the adjusted damage in the amount of $2,095.91.

 Defendant denies that any further sums are owed Plaintiff under the policy and that it conducted

 a reasonable investigation.

                                B.      Jurisdiction & Removal

       5.      This Court has jurisdiction in the case pursuant to 28 U.S.C. §1332, in that there

is complete diversity of citizenship between the parties. Accordingly, statutory authority for the

removal of this matter is conferred by 28 U.S.C. §§ 1441 and 1446.

       6.      Plaintiff is a citizen of the State of Texas.      Liberty Mutual Fire Insurance

Company is a company organized under the laws of the State of Wisconsin with its principal

place of business located in Boston, Massachusetts.         Liberty Mutual Insurance Company

(improperly joined) is a company organized under the laws of the State of Massachusetts with its

principal place of business located in Boston, Massachusetts.

       7.      For diversity purposes, the amount in controversy normally is determined by the

amount sought on the face of the plaintiff’s pleadings, so long as the plaintiff’s claim is made in

good faith. St. Paul Reinsurance Co. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1995).

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Removal is thus proper if it is “facially apparent” from the complaint that the claim or claims

asserted exceed the jurisdictional amount. Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th

Cir.), reh’g denied, 70 F.3d 26 (5th Cir. 10995). If the petition does not include a specific

monetary demand, the removing party must establish by a preponderance of the evidence that the

amount in controversy exceeds $75,000. Manguno v. Prudential Property and Cas. Ins. Co., 276

F.3d 720, 723 (5th Cir. 2002). That requirement is met if (1) it is apparent from the face of the

petition that the claims are likely to exceed $75,000 or, (2) the defendant sets forth summary

judgment type evidence of facts in controversy that support a finding of the requisite amount. Id.

Items to be considered in ascertaining the amount in controversy when the insurer could be liable

for those sums under state law are, inter alia, penalties, statutory damages, and punitive damages

– just not interest or costs. St. Paul Reinsurance Co., Ltd. V. Greenberg, 134 F.3d 1250, 1253

(5th Cir. 1998). If a state statute provides for attorneys’ fees, such fees are included as part of

the amount in controversy. Manguno, Id. Here the combination of Plaintiff’s allegations and

claim for damages in the Original Petition demonstrate by more than a preponderance of the

evidence that the amount in controversy exceeds $75,000.00.

       8.      Plaintiff’s Original Petition states, “Plaintiff seeks only monetary relief of

$100,000 or less, including damages of any kind, penalties costs, expenses, pre-judgment

interest, and attorney fees.” (See Exhibit “A”, Paragraph 9.1) Thus it is “facially apparent” from

the petition that Plaintiff seeks damages in excess of the jurisdictional limit.

       9.      Alternatively, assuming arguendo that Plaintiff’s statement for monetary relief is

not a “specific monetary demand”, the amount in controversy still apparently exceeds $75,000.

Plaintiff’s Original Petition seeks damages for breach of contract, bad faith, violations of the

Texas Insurance Code, violations of the Texas DTPA, misrepresentation, and respondeat

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superior. The petition requests actual damages, investigative and engineering fees, court costs,

plus attorneys’ fees.    Further, the petition alleges the Defendants’ actions were committed

knowingly indicating they are seeking treble damages and/or exemplary damages.

       10.       The amount in controversy, per St. Paul Reinsurance and Manguno, includes the

following elements of damages:

             •    Plaintiff’s actual damages (contract) for his losses under the insurance policy

             • Damages for violations of the Texas Insurance Code and DTPA(statutory extra-
               contractual, including the statutory 18% interest penalty)

             •    Mental anguish

             •    Statutory Attorneys’ fees

       11.       When the applicable damages for determining the amount in controversy as

spelled out in St. Paul Reinsurance and Manguno are compared with the Plaintiff’s Original

Petition it becomes clear that the amount in controversy in this case is above $75,000.

       12.       As demonstrated below, Defendants reasonably believe the amount in controversy

exceeds $75,000.       Plaintiff’s demand includes an estimate for property damage totaling

$22,950.16. (See Exhibit “B”). Using the contract damages as a starting point for determining

the total amount of damages sought by Plaintiff, the following chart clearly demonstrates that the

total sought exceeds the jurisdictional amount needed to confer diversity jurisdiction:



Claim for Damages                  Petition Cite                   Plaintiff’s Alleged Damages
Actual damages alleged for         Ex. A Plaintiff’s      Original $22,950.16
property damage as a result of     Petition paragraphs   6.7, 6.9,
breach of contract                 7.2.
Treble Damages for knowing         Ex A Plaintiff’s       Original $68,850.48
violations of the Texas            Petition paragraphs    7.4, 7.5
Insurance Code and Texas           and 9.3
DTPA
                                                  4
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18 percent interest for Ex         APlaintiff’s    Original $12,393.08 for three years
violations of the Insurance Petition paragraph 9.2
Code

Attorney’s Fees                   Ex A Plaintiff’s Original $4,500
                                  Petition paragraph 10.1

Engineering Fees                  Ex A Plaintiffs’ Original Unknown
                                  Petition paragraph 9.2
Evidentiary Total:                                          $108,693.72


       13.     Clearly, as this case progresses Plaintiff’s claims for attorneys’ fees as well as

statutory penalty interest will rise. St. Paul Reinsurance and Manguno require all of these

damage elements to be considered when determining the amount in controversy. This includes

consideration of the policy limits. In this case, the policy limit for the dwelling is $278,400 and

the limit for Other Structures is $27,840. (See Exhibit “C”).         When all these elements are

considered, the amount in controversy exceeds $75,000.

       14.     Venue is proper in this district and division under 28 U.S.C. § 1441(a) because

the state court where the action has been pending is located in this district and division.

       15.     Contemporaneous with the filing of this Notice of Removal, Defendant is filing a

Notice of Filing Notice of Removal with the Clerk of Court for the 149th Judicial District Court

of Brazoria County pursuant to 28 U.S.C. § 1446(d).

       16.     Attached hereto are all documents required by LR 81, USDC/SDTX Local Rules

and 28 U.S.C. § 1446(a).

       17.     Defendants made a demand for a jury trial in the state court action. Defendants

also request a trial by jury pursuant to Rule 81(c)(3)(A), Federal Rules of Civil Procedure and

LR 38.1, USDC/SDTX Local Rules.


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          18.   All fees required by law in connection with this Notice have been tendered and

paid by Defendants.

          WHEREFORE, Liberty Mutual Insurance Company (improperly joined) and Liberty

Mutual Fire Insurance Company hereby remove the above-captioned matter now pending in the

149th Judicial District Court, Brazoria County, Texas to the United States District Court for the

Southern District of Texas, Houston Division.



                                             Respectfully submitted,

                                             SHEEHY, WARE & PAPPAS, P.C.

                                        By: __/s/ J. Mark Kressenberg____________________
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                                             ATTORNEYS FOR DEFENDANTS LIBERTY
                                             MUTUAL INSURANCE COMPANY AND
                                             LIBERTY FIRE INSURANCE COMPANY

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above foregoing instrument has been
forwarded via e-filing in accordance with the Federal Rules of Civil Procedure on this the 20th day of
November, 2015, to the following counsel of record:

       Jesse S. Corona
       The Corona Law Firm, PLLC
       2611 Cypress Creek Parkway, Suite H-200
       Houston, Texas 77068
       (281) 882-3531
       (713) 678-0613 (facsimile)




                                           /s/ J. Mark Kressenberg____________________
                                           J. Mark Kressenberg




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